Case 2:18-cv-06081-JAK-SK Document 160 Filed 10/15/18 Page 1 of 5 Page ID #:2256
Case 2:18-cv-06081-JAK-SK Document 119-2 Filed 08/22/18 Page 1 of 5 Page ID #:1566



  1   Amy P. Lally (SBN 198555)
      alally@sidley.com
  2   Ellyce R. Cooper (SBN 204453)
      ecooper@sidley.com
  3   SIDLEY AUSTIN LLP
      1999 Avenue of the Stars, 17th Floor
  4   Los Angeles, CA 90067
      Telephone: +1 310 595-9500
  5   Facsimile: +1 310 595-9501
  6
      Mark Rosenbaum (SBN 59940)
  7   mrosenbaum@publiccounsel.org
      Judy London (SBN 149431)
  8   jlondon@publiccounsel.org
      Talia Inlender (SBN 253796)
  9
      tinlender@publiccounsel.org
 10   Alisa Hartz (SBN 285141)
      ahartz@publiccounsel.org
 11   Lucero Chavez (SBN 273531)
 12   lchavez@publiccounsel.org
      PUBLIC COUNSEL
 13   610 S. Ardmore Avenue
      Los Angeles, CA 90005
 14   Telephone: +1 213 385-2977
      Facsimile: +1 213 385-9089
 15
      Attorneys for Plaintiffs
 16   Additional Counsel on next page
 17
                            UNITED STATES DISTRICT COURT
 18
                          CENTRAL DISTRICT OF CALIFORNIA
 19
      MS. J.P., MS. J.O., AND MS. R.M., on     Case No. 2:18-cv-06081 -JAK-SK
 20   behalf of themselves and all others
      similiarly situated,                     DECLARATION OF LUCERO
 21                                            CHAVEZ
                  Plaintiffs,
 22                                            Date: September 20, 2018
            v.                                 Time: 1:30 p.m.
 23
      JEFFERSON B. SESSIONS III,               Judge: Hon. John A. Kronstadt
 24   ATTORNEY GENERAL OF THE
      UNITED STATES; KIRSTJEN                  Courtroom: 10B
 25   NIELSEN, SECRETARY OF
      HOMELAND SECURITY; U.S.
 26   DEPARTMENT OF HOMELAND
      SECURITY, AND ITS SUBORDINATE
 27   ENTITIES; U.S. IMMIGRATION AND
      CUSTOMS ENFORCEMENT; U.S.
 28


                                DECLARATION OF LUCERO CHAVEZ
Case 2:18-cv-06081-JAK-SK Document 160 Filed 10/15/18 Page 2 of 5 Page ID #:2257
Case 2:18-cv-06081-JAK-SK Document 119-2 Filed 08/22/18 Page 2 of 5 Page ID #:1567



  1   CUSTOMS AND BORDER
      PROTECTION; ALEX M. AZAR II,
  2   SECRETARY OF HEALTH AND
      HUMAN SERVICES; U.S.
  3   DEPARTMENT OF HEALTH AND
      HUMAN SERVICES; SCOTT LLOYD,
  4   DIRECTOR OF THE OFFICE OF
      REFUGEE RESETTLEMENT; OFFICE
  5   OF REFUGEE RESETTLEMENT;
      DAVID MARIN, LOS ANGELES FIELD
  6   OFFICE DIRECTOR, U.S.
      IMMIGRATION AND CUSTOMS
  7   ENFORCEMENT; LISA VON
      NORDHEIM, WARDEN, JAMES A.
  8   MUSICK FACILITY; MARC J. MOORE,
      SEATTLE FIELD OFFICE DIRECTOR,
  9   U.S. IMMIGRATION AND CUSTOMS
      ENFORCEMENT; LOWELL CLARK,
 10   WARDEN, TACOMA NORTHWEST
      DETENTION CENTER,
 11
                 Defendants.
 12
 13   Carter G. Phillips*                     Mark E. Haddad (SBN 205945)
 14   cphillips@sidley.com                    markhadd@usc.edu
      Jennifer J. Clark*                      Part-time Lecturer in Law
 15
      jennifer.clark@sidley.com               USC Gould School of Law**
 16   SIDLEY AUSTIN LLP                       University of Southern California
      1501 K Street, N.W.                     699 Exposition Blvd.
 17
      Washington, D.C. 20005                  Los Angeles, CA 90089
 18   Telephone: +1 202 736-8000              Telephone: +1 213 675-5957
      Facsimile: +1 202 736-8711
 19
 20   Michael Andolina*                       Luis Cortes Romero (SBN 310852)
 21
      mandolina@sidley.com                    lcortes@ia-lc.com
      Timothy Payne*                          Alma L. David (SBN 257676)
 22   tpayne@sidley.com                       adavid@ia-lc.com
 23   Kevin Fee*                              IMMIGRANT ADVOCACY &
      kfee@sidley.com                         LITIGATION CENTER, PLLC
 24   SIDLEY AUSTIN LLP                       19309 68th Avenue South, Suite R-102
 25   One South Dearborn                      Kent, WA 98032
      Chicago, IL 60603                       Telephone: +1 253 872-4730
 26   Telephone: +1 312 853-7000              Facsimile: +1 253 237-1591
 27   Facsimile: +1 312 853-7036

 28

                           DECLARATION OF LUCERO CHAVEZ
Case 2:18-cv-06081-JAK-SK Document 160 Filed 10/15/18 Page 3 of 5 Page ID #:2258
Case 2:18-cv-06081-JAK-SK Document 119-2 Filed 08/22/18 Page 3 of 5 Page ID #:1568



  1    Sean A. Commons (SBN 217603)
  2    scommons@sidley.com
       Bridget S. Johnsen (SBN 210778)
  3    bjohnsen@sidley.com
  4    SIDLEY AUSTIN LLP
       555 West Fifth Street
  5    Los Angeles, CA 90013
  6    Telephone: +1 213 896-6000
       Facsimile: +1 213 896-6600
  7
  8
      *Admitted pro hac vice
  9
      ** Institution listed for identification purposes only
 10
 11

 12
 13
 14
 15
 16
 17
 18
 19
 20

 21
 22

 23
 24

 25
 26

 27
 28

                               DECLARATION OF LUCERO CHAVEZ
Case 2:18-cv-06081-JAK-SK Document 160 Filed 10/15/18 Page 4 of 5 Page ID #:2259
Case 2:18-cv-06081-JAK-SK Document 119-2 Filed 08/22/18 Page 4 of 5 Page ID #:1569
Case 2:18-cv-06081-JAK-SK Document 160 Filed 10/15/18 Page 5 of 5 Page ID #:2260
Case 2:18-cv-06081-JAK-SK Document 119-2 Filed 08/22/18 Page 5 of 5 Page ID #:1570
